Case 5:15-cr-00080-H         Document 71        Filed 11/25/15       Page 1 of 2      PageID 178



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
V                                                §    CRIMINAL NO: 5:15-CR-080-C-BG
                                                 §
                                                 §
HANK LINDAL MORGAN (02)                          §


                REPORT OF ACTION AND RECOMMENDATION ON PLEA
                  BEFORE THE UNITED STATES MAGISTRATE JUDGE

       This Report of Action on Plea is submitted to the court pursuant to 28 U.S.C. § 636(b)(3).

This case has been referred by the United States District Judge to the undersigned for the taking of

a felony guilty plea. The parties have consented to appear before a United States Magistrate Judge

for these purposes.

       The defendant appeared with counsel, Robert N. Nebb, before the undersigned United States

Magistrate Judge who addressed the defendant personally in open court and informed the defendant

of, and determined that the defendant understood, the admonitions under Rule 11 of the Federal

Rules of Criminal Procedure.

       The defendant pled guilty (pursuant to a plea bargain agreement with the Government) to

Count(s) 2 of the Superseding Information, charging defendant with the violation of 18 U.S.C. §§

513(a) and 2, that is, Possession and Uttering of Forged Securities of an Organization and Aiding

and Abetting.

       The undersigned Magistrate Judge finds the following:

       (1)      The defendant, with the advice of counsel, has consented orally and in writing to
                enter this guilty plea before a Magistrate Judge subject to final approval and
Case 5:15-cr-00080-H         Document 71        Filed 11/25/15        Page 2 of 2       PageID 179



              sentencing by the United States District Judge;

       (2)    The defendant fully understands the nature of the charge and penalties;

       (3)    The defendant fully understands the terms of the plea agreement;

       (4)    The defendant understands his constitutional and statutory rights and wishes to
              waive these rights, including the right to a trial by jury and the right to appear before
              a United States District Judge;

       (5)    The defendant's plea is made freely and voluntarily;

       (6)    The defendant is competent to enter this plea of guilty;

       (7)    There is a factual basis for this plea; and

       (8)    The ends of justice will be served by acceptance of the defendant's plea of guilty.

       Therefore I recommend that the defendant’s plea of guilty be accepted and that Hank Lindal

Morgan be adjudged guilty and sentence be imposed accordingly. The United States District Judge

has the power to review my actions in this proceeding and possesses final decision-making

authority. Thus, if the defendant has any objections to the findings or any other action of the

undersigned, the defendant should make those known to the United States District Judge on

or before December 9, 2015, fourteen (14) days from today’s date.



       SIGNED this 25th day of November, 2015.

                                              ______________________________________
                                              NANCY M. KOENIG
                                              United States Magistrate Judge
